                       Case 2:05-cr-00122-DC Document 96 Filed 05/21/08 Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 2:05CR00122-02
                        EBONY PIPKINS
                                                                     )   USM No: 15660-097
Date of Previous Judgment: 6/9/06                                    )   David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 120           months is reduced to 108 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33               Amended Offense Level:                                             31
Criminal History Category: IV               Criminal History Category:                                         IV
Previous Guideline Range: 188 to 235 months Amended Guideline Range:                                           151       to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 6/9/06                       shall remain in effect.
IT IS SO ORDERED.

Order Date:         5/12/2008
                                                                                                  Judge’s signature


Effective Date:                                                             Garland E. Burrell, Jr., United States District Judge
                     (if different from order date)                                             Printed name and title
